                Case 3:11-cr-00070-RCJ-WGC                         Document 100              Filed 02/28/12          Page 1 of 6

A0 2458 (Rev. 09/11) Judgment in a Criminal Case
        Sheet I



                                         UNITED STATES DISTRICT COURT
                                                                  District of Nevada

           UNITED STATES OF AMERICA                                 )        JUDGMENT IN A CRIMINAL CASE


                                                                    )
                              V.                                    )
           RODRIGO RODRIGUEZ-BECERRA                                )        Case Number:                3:11 -CR-0070-RCJ-WGC-2
           aka Buld                                                 )
                                                                    )        USM Number:                 Not Available
                                                                    )
                                                                    )         Richard Molezzo, CJA
                                                                             Detendant’s Attorney
THE DEFENDANT:


O pleaded guilty to count(s)
0   pleaded nob       contendere to count(s)
           which was accepted by the court.
X was found guilty on count(s) ONE AND TWO OF THE SUPERSEDING INDICTMENT
      After a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                             Nature of Offense                            Offense Ended                Count

21 U.S.C. § 846 and 841(a)(1) and (b)(1)(A)(viii)           conspiracy to Possess a Controlled
                                                            Substance with Intent to Distribute          5272011                      ONE
21 U.S.C. § 841(a)(1) and (b)(I)(B)                         Distribution of a Controlled Substance       5 27 2011                    TWO

The defendant is sentenced as provided in pages 2 through 6          of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

C The defendant has been found not guilty on count(s)

C Count(s)                                    0 is C are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        February 21, 2012
                                     RECEIVED                       Date of Impo
                                                                            1              f Judgment
      [Z..     FILED
               ENTERED                SERVED ON
                                                                                      -.




                       COUNSELJPARTIES OF RECORD

                                                                    Sign’ e of Jud:
                 [FEB2121                                           ROBERT C. •NES
                                                                    UNITED STATES CHIEF DISTRICT JUDGE
                   CLERK US DISTRICT COURT                          Name and Title of Judge
       I              DISTRICT OF NEVADA
                                                   DEPUTY
                                                                    Date
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A0 2458 (Rev. 09/11) Judgment in a Criminal Case
        Sheet 2 Imprisonment
                 -




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DEFENDANT:                    RODRIGO RODRJGUEZ-BECERRA
                              a/ca Buki
CASE NUMBER:                  3:11 -CR-0070-RCJ-WGC-2

                                                        IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: ONE HUNDRED THIRTY-TWO (132) MONTHS, PER COUNT, CONCURRENTLY




C The court makes the following recommendations to the Bureau of Prisons:




X The defendant is remanded to the custody of the United States Marshal.
C The defendant shall surrender to the United States Marshal for this district:
          C at                    C a.m. C p.m. on
          C as notified by the United States Marshal.
C The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          C before 2 p.m. on
          C as notified by the United States Marshal.
          O as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:




Defendant delivered on                                                  to                                               a

                             with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL


                                                                                     By_________________________
                                                                                     DEPUTY UNTIED STATES MARSHAL
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 3 Supervised Release
                 -



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DEFENDANT:                    RODRIGO RODRJGUEZ-BECERRA
                              aka Buki
CASE NUMBER:                  3:1 1-CR-0070-RCJ-WGC-2

                                                        SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: FIVE (5) YEARS ON COUNT ONE, FOUR (4)
YEARS ON COUNT TWO, CONCURRENT WITH COUNT ONE.
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court, not to exceed 104 tests annually.

C         The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
          abuse. (Check, ([applicable.)
U         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ([applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ([applicable.)
U         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works,
          is a student, or was convicted of a qualifying offense. (Check, ([applicable.)
C         The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)


        Ifthis judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 3C Supervised Release
                  -




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DEFENDANT:                     RODRIGO RODRIGUEZ-BECERRA
                               aka Buki
CASE NUMBER:                   3:11 -CR-0070-RCJ-WGC-2

                                           SPECIAL CONDITIONS OF SUPERVISION

1.        Possession of Weapons You shall not possess, have under your control, or have access to any firearm,
                                           -




          explosive device, or other dangerous weapons, as defined by federal, state, or local law.

2.       Warrantless Search You shall submit to the search of your person, property, residence or automobile under
                                       -




         your control by the probation officer or any other authorized person under the immediate and personal
         supervision of the probation officer, without a search warrant to ensure compliance with all conditions of
         release.

3.       Deportation Compliance If deported, you shall not reenter the United States without legal authorization.
                                               -




4.        True Name You shall use your true name at all times and will be prohibited from the use of any aliases, false
                           -




          dates of birth, social security numbers, places of birth, and any other pertinent demographic information.

5.        Report to Probation Officer After Release from Custody You shall report, in person, to the probation
                                                                     -




          office in the district to which you are released within 72 hours of discharge from custody.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 5 Criminal Monetary Penalties
                 -




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DEFENDANT:                    RODRIGO RODRIGUEZ-BECERRA
                              aka Buki
CASE NUMBER:                  3:1 1-CR-0070-RCJ-WGC-2

                                                   CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                              Assessment                              Fine                                 Restitution
TOTALS                  $     200.00 ($100.00 Per Count)           $ WAIVED                            $   N/A


0        The determination of restitution is deferred until                      .   An Amended Judgment in a Criminal Case (AO
         245C) will be entered after such determination.

0        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.

Name of Payee                                      Total Loss*          Restitution Ordered                 Priority or Percentage




Clerk of Court
Attention: Finance
Case No. 3:1 1-cr-0070-RCJ-WGC-2
333 Las Vegas Boulevard South, Room 1334
Las Vegas, Nevada 89101


TOTALS                                  $_____________                  $

O        Restitution amount ordered pursuant to plea agreement $

U        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
         full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
         on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

U        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          U          the interest requirement is waived for the U fine U restitution.

          0          the interest requirement for the 0 fine U restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1996.
                                         ________________




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A0 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 6- Schedule of Payments
                                                                                                                        Judgment Page 6
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DEFENDANT:                    RODRIGO RODRIGUEZ-BECERRA
                              aka Buki
CASE NUMBER:                  3:11 -CR-0070-RCJ-WGC-2

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        X          Lump sum payment of $ 200.00                       due immediately, balance due

                    D        Not later than                                   or
                    D        in accordance         C,    EJ D,        E, or    F below; or

B         U        Payment to begin immediately (may be combined with                 U C,     U D, or     U F below); or

C         U        Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $             over a period
                   of_____________ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this
                   judgment; or

D         U        Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $             over a period
                   of_____________ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from
                   imprisonment to a term of supervision; or

E         0        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after
                   release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
                   ability to pay at that time; or

F         0         Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

U         Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint
          and Several Amount, and corresponding payee, if appropriate.




U         The defendant shall pay the cost of prosecution.

U         The defendant shall pay the following court cost(s):

0         The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
